                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION




SOPHIA LANE and JASON LANE,

               Plaintiffs,

v.                                                   Case No.: 3:18-cv-00888

BOSTON SCIENTIFIC CORPORATION,

               Defendant.


               JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the undersigned counsel hereby

stipulate and agree that the above action is dismissed without prejudice, in its entirety, each party to

bear its own costs.


Dated: December 3, 2018                              Respectfully submitted,


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                                    CERTIFICATE OF SERVICE

       I hereby certify that on December 3, 2018, I electronically filed the foregoing with the Clerk

using the CM/ECF system which will send notification of such filing to the CM/ECF participants

registered to receive service for this case.

                                                   By: /s/ Samuel L. Felker
                                                   Samuel L. Felker




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